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            EXHIBIT 1-J




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AI G Company Division         October 5, 2018
PO Box 10006
Shawnee Mission, KS 66225
www.aig.com                   VIA E-MAIL –Leslie.Thorne@haynesboone.com
                              Leslie Thorne
Pranothi Prabhakara           Haynes and Boone, LLP
Complex Director
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                                      Re:           Richard Chadwick Maheu, et al v. XTO Energy Inc. et
                                                    al
                                      Insured:      Missouri Basin Well Services Inc.
                                      Claim No:     875787946US
                                      Policy No.:   24238279


                              Ms. Thorne:

                              AIG Claims, Inc. (“AIG”) is the claims administrator for Commerce &
                              Industry Insurance Company (“CIIC”) with respect to the above referenced
                              policy and claim. I am writing in response to your June 29, 2018,
                              correspondence. Your client, XTO Energy, Inc. (“XTO”), tendered the
                              claims of Daniel Pavon, Justin Pyle, Richard Chadwick Maheu, John
                              Stassinos, and Joseph Guillen, who were injured or killed as a result of an
                              incident occurring at the Ryan 14x-09E well location on or about June 18,
                              2016, near Watford City, ND. These individuals were employees of XTO
                              contractors, Most Wanted Well Service, L.L.C. (“Most Wanted”) and
                              Sherwood Enterprises, Inc. (“SEI”). Two lawsuits have been brought in the
                              United States District Court for the District of North Dakota. The Plaintiffs
                              in these lawsuits asserted claims against XTO and several contractors,
                              including Missouri Basin Well Service, Inc. (“MBI”). XTO has tendered the
                              claims of Plaintiffs against XTO and contractors to Berkley National
                              Insurance Company (“Berkley”) for its Primary and Umbrella Policies, and
                              AIG for its Umbrella Policy for MBI.


                              On November 19, 2015, XTO and MBI entered into a Master Service
                              Agreement (“MSA”). Several provisions from the MSA are outlined below.


                              II. Definitions.


                              2.3        “Contractor Group” shall mean individually or in any combination
                              Contractor, its Affiliates, any Subcontractor of Contractor, and their

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             respective directors, officers, employees, representatives, agents, licensees,
             invitees and assignees.


                 …


             2.8 “XTO Group” shall mean individually or in any combination XTO, its
             Affiliates, co-owners or co-lessees … at the Site, joint interest owners, joint
             ventures, partners, contractors and subcontractors other than Contractor or its
             Subcontractors and all of their respective directors, officers, employees,
             representatives, agents, licensees and invitees.


             …



             X. RELEASE, DEFENSE, INDEMNITY AND HOLD HARMLESS.


             10.1 Contractor’s Obligations.


             10.1.1        Contractor hereby agrees to release, defend, indemnify, and hold
             the XTO Group harmless from and against any and all claims, demands, and
             causes of action of every kind and character (including without limitation,
             fines, penalties, remedial obligations, court costs and reasonable attorneys’
             fees, including attorneys’ fees incurred in the enforcement of this indemnity)
             (collectively the “Indemnifiable Claims”) arising out of, without limitation,
             any physical or mental injury, illness and/or death of any one or more
             members of the Contractor Group, and/or loss of or damage to property or
             interests in property of any one or more members of the Contractor Group in
             any manner incident to, connected with or arising out of the performance of
             the Work. This obligation is without regard to the cause or causes of such
             physical or mental injury, illness, death, or loss of or damage to property or
             interests in property and includes, but is not limited to, Indemnifiable Claims
             resulting from any sole, gross, joint or concurrent negligence, willful
             misconduct, strict liability, or other act and/or omission of any one or more
             members of the XTO Group.
             …


             10.2 XTO’s Obligations.


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             10.2.1 XTO hereby agrees to release, defend, indemnify and hold the
             Contractor Group harmless from and against any and all Indemnifiable
             Claims arising out of, without limitation, any physical or mental injury,
             illness and/or death of any one or more members of the XTO Group, and/or
             loss of or damage to property or interests in property of any one or more
             members of the XTO Group in any manner incident to, connected with or
             arising out of the performance of the Work. This obligation is without regard
             to the cause or causes of such physical or mental injury, illness, death, or loss
             of or damage to property or interests in property and includes, but is not
             limited to, Indemnifiable Claims resulting from any sole, gross, joint or
             concurrent negligence, willful misconduct, strict liability, or other act and/or
             omission of any one or more members of the Contactor Group.


             …


             10.2.3      XTO agrees that its indemnity obligations herein will either be
             supported by insurance with at least the minimum amounts provided in
             Article XI, which insurance will be primary to any other insurance provided
             by or available to any one or more members of the Contractor Group and
             shall provide waivers of subrogation against all members of the Contractor
             Group; or XTO may be self-insured. To the extent that applicable law
             prohibits monetary limits of insurance required or the indemnitees
             voluntarily assumed hereunder, the requirements will automatically be
             revised to conform, to the maximum extent permitted, with applicable law.


             …


             Pursuant to Paragraph 10.1.1, Contractor (MBI) has the duty to release,
             defend, indemnify, and hold XTO Group harmless for Indemnifiable Claims
             arising out of the injury or death of members of the Contactor Group.
             However, under Paragraph 10.2.1, XTO has the duty to release, defend,
             indemnify, and hold MBI harmless from Indemnifiable Claims arising out of
             the injury or death of members the XTO Group. Here, Plaintiffs were
             employees of contractors of XTO, Most Wanted and SEI. As defined in
             Paragraph 10.1.1, Indemnifiable Claims includes claims and causes of action,
             and the related attorneys’ fees incurred by the enforcement of this indemnity.
             Plaintiffs’ claims fall under the definition of Indemnifiable Claims.
             Therefore, XTO has the duty to defend and indemnify MBI for these claims.



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             XI. Insurance.


             11.1 Coverages. Subject to the provisions of Section 11.2, Contractor will
             secure and maintain, and will require its Subcontractors to secure and
             maintain, during the term of this Agreement the following insurance
             coverages with limits not less than the amounts specified . . . .


             …


             11.1.2     Commercial     General     Liability    Insurance    INCLUDING
             CONTRACTUAL LIABILITY, with minimum limits of liability for injury,
             death or property damage of $1,000,000 combined single limit per
             occurrence, and an aggregate annual limit of not less than $2,000,000.


             …


             11.2 Actual Insurance. Notwithstanding the minimum coverages specified
             in Sections 11.1.1 – 11.1.5 above, should Contractor maintain on a general,
             blanket, comprehensive or similar basis any insurance, including but not
             limited to excess liability insurance or contractual liability insurance, in
             amounts greater than such minimums, then the actual insurance which
             Contractor shall provide hereunder will be such larger amounts carried by
             Contractor (or indicated in any certificate of insurance furnished by
             Contractor) and not the minimums referenced in Sections 11.1.1 – 11.1.5
             above.


             …


             In accordance with Paragraph 10.2.3, XTO’s indemnity obligations are
             supported by at least the minimum amounts of insurance stated in Article XI,
             which will be the primary insurance. In Article XI, Paragraph 11.1.2, the
             minimum limits are $1,000,000 per occurrence and an aggregate of
             $2,000,000. Paragraph 11.2 requires when actual insurance is maintained
             above the minimum amounts set in Paragraph 11.1.2, the larger amount will
             apply. Therefore, XTO shall indemnify MBI with the actual insurance it has
             obtained.


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             In your correspondence dated July 24, 2018, XTO conditionally accepted
             MBI’s tender of defense and indemnity for this matter, subject to the Texas
             Oilfield Anti-Indemnity Statue. The MSA indicated that Texas law will
             apply.


             14.8 Applicable Law. This Agreement will be governed by the laws of the
             State of Texas, excluding the Texas rules on conflicts of law. . . .


             The Texas Oilfield Anti-Indemnity Act permits mutual indemnity obligations
             subject to limitations. See TEX. CIV. PRAC. & REM. CODE §§ 127.001 –
             127.007. “[T]he indemnity obligation is limited to the extent of the coverage
             and dollar limits of insurance or qualified self-insurance each party as
             indemnitor has agreed to obtain for the benefit of the other party as
             indemnitee.” TEX. CIV. PRAC. & REM. CODE § 127.005(b). XTO is
             responsible for bearing the amount of insurance it has agreed to obtained.


             In your July 24 correspondence, you also noted that Section 11.4 of the MSA
             ultimately makes MBI’s insurers responsible for satisfying any defense and
             indemnity obligations XTO owes MBI.


             11.4  Primary Coverage and Additional Insureds. ALL INSURANCE
             POLICIES AND COVERAGES LISTED IN THIS ARTICLE XI WILL
             EXTEND TO AND PROTECT THE XTO GROUP TO THE FULL
             EXTENT AND AMOUNT OF SUCH COVERAGE, INCLUDING
             EXCESS OR UMBRELLA INSURANCES. ALL INSURANCE POLICIES
             LISTED IN THIS ARTICLE XI WILL BE PRIMARY TO, AND RECEIVE
             NO CONTRIBUTION FROM, ANY OTHER INSURANCE OR SELF-
             INSRUANCE PROGRAMS MAINTAINED BY OR ON BEHALF OF OR
             BENEFITING THE XTO GROUP. THE LIMITS AND COVERAGES OF
             THE INSURANCES OBTAINED BY CONTRACTOR WILL IN NO WAY
             LIMIT THE LIABILITIES OR OBLIGATIONS ASSUMED BY
             CONTRACTOR       UNDER      THIS      AGREEMENT.     ALL   OF
             CONTRACTOR’S LIABILITY INSURANCE POLICIES WILL NAME
             THE XTO GROUP AS AN ADDITIONAL INSURED.                ALL OF
             CONTRACTOR’S INSURANCE POLICIES WILL CONTAIN A WAIVER
             ON THE PART OF THE INSURER, BY SUBROGATION OR
             OTHERWISE, OF ALL RIGHTS AGAINST THE XTO GROUP.




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             Taken as a whole, the provisions of the MSA make it clear that XTO is
             responsible for defending and indemnifying MBI for Plaintiffs’ claims.
             Paragraph 11.4 references the “LIABILITIES OR OBLIGATIONS
             ASSUMED BY CONTRACTOR UNDER THIS AGREEMENT.” Here,
             Plaintiffs’ claims are for liabilities and obligations assumed by XTO pursuant
             to Paragraph 10.2.1, which XTO has assumed responsibility.


             XTO agreed to the MSA provisions, which require XTO to defend and
             indemnify MBI for the claims brought by Plaintiffs in these lawsuits. It is
             clear from the language in the MSA that XTO intended to release MBI for
             any claims, demands, or causes of action arising out of the injuries or death
             of members of the XTO Group.


             XTO has the responsibility to defend and indemnify up to its policy limits.
             Berkley’s two policies for MBI should not be available until XTO has
             offered its limits. AIG’s Umbrella Policy will take not take effect until
             Berkley has exhausted its $26 million limits.
             In the DEFINITIONS section of AIG’s Umbrella Policy, it defines an insured.

                    M. Insured means:

                    7. any person or organization, other than the Named Insured, included
                       as an additional insured under Scheduled Underlying Insurance, but
                       not for broader coverage than would be afforded by such Scheduled
                       Underlying Insurance.

             The Schedule of Underlying Insurance names Berkley as an insurer for General
             Liability and Umbrella coverage.

             In Berkley’s CGL Policy, it identifies an Additional Insured.

                I. NAMED INSUREDS AND INSUREDS

                    B. Insureds

                        1. Additional Insured:

                            Any person or organization with whom YOU agree in a written
                            contract or written agreement to add as an Additional Insured on
                            YOUR policy or to provide liability insurance for, but only with
                            respect to liability arising out of YOUR operations or liability
                            arising out of premises owned by or rented to YOU.

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             Berkley’s Umbrella Policy also provides coverage for named insureds and
             insureds.

                    A. Coverage A- Excess Follow Form Liability Insurance

                        2. Other persons or organizations qualifying as an INSURED in
                           UNDERLYING INSURANCE, but not beyond any limitation
                           imposed under any written contract or written agreement.

             MBI entered into an agreement with XTO, not any of XTO’s contractors. The
             Berkley policies would likely extend coverage only to XTO, and not to any of
             XTO’s contractors, since MBI did not have a contractual relationship with
             XTO’s contractors. Likewise, if the Berkley policies would not extend coverage,
             then AIG’s Umbrella Policy would not extend coverage.

             If it would be decided that there is additional insured coverage, the nature of
             these lawsuits arises from an explosion and fire caused by escaping
             pressurized gas. There is a pollution exclusion in AIG’s Umbrella Policy.


             Q. Pollution


             This insurance does not apply to:


             1. Any Bodily Injury, Property Damage or Personal Injury and Advertising
             Injury arising out of the actual alleged or threatened discharge, dispersal,
             seepage, migration, release or escape of Pollutants anywhere at any time; . . .


             A similar pollution exclusion has been held to exclude coverage. See Hiland
             Partners GP Holdings, LLC v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA,
             847 F.3d 594 (8th Cir. 2017).


             Endorsement No. 11 of AIG’s Umbrella Policy amends Section V.
             EXCLUSIONS to include the following exclusion for Commercial General
             Liability.


                This insurance does not apply to Commercial General Liability.



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                  However, if insurance for Commercial General Liability is provided by
                  a policy listed in Scheduled Underlying Insurance:


                 1. This exclusion shall not apply; and
                 2. Coverage under this policy will follow the terms, definitions,
                    conditions and exclusions of Scheduled Underlying Insurance,
                    subject to the Policy Period, Limits of Insurance, premium and all
                    other terms, definitions, conditions and exclusions of this policy.
                    Provided, however, that coverage provided by this policy will be no
                    broader than the coverage provided by Scheduled Underlying
                    Insurance.


             AIG’s Umbrella Policy follows Berkley’s underlying policy terms,
             definitions, and exclusions, subject to AIG’s terms, definitions, and
             exclusions.   AIG will not provide broader coverage than the underlying
             coverage provided by Berkley.


             Even if MBI’s insurers were ultimately responsible for providing defense and
             indemnity to XTO, AIG’s policy does not take effect until the limits are
             exhausted by Berkley’s two underlying policies. Therefore, AIG denies
             XTO’s demand for coverage.


             If you have any questions, please do not hesitate to contact us.


             Sincerely,



             Pranothi Prabhakara
             AIG
             Complex Director

             cc: robert.carlton@haynesboone.com




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                                             EXHIBIT 1

             Commerce & Industry Insurance Company Policy No. 24238279, effective
             from April 13, 2016 to April 13, 2017 contains the following relevant
             provisions, which we call to your attention without prejudice to our right to
             rely on any other provisions of the policy:

                                       Umbrella Prime
                    Commercial Umbrella Liability Policy with CrisisResponse


             V. EXCLUSIONS

             Q. Pollution

                This insurance does not apply to:

                1. Any Bodily Injury, Property Damage or Personal Injury and
                   Advertising Injury arising out of the actual, alleged or threatened
                   discharge, dispersal, seepage, migration, release or escape of
                   Pollutants anywhere at any time;


             VII.   DEFINITIONS

             M. Insured means:

             7. any person or organization, other than the Named Insured, included as
             an additional insured under Scheduled Underlying Insurance, but not for
             broader coverage than would be afforded by such Scheduled Underlying
             Insurance.

                                         ----------------------


                                        Endorsement No. 11

                    Commercial Umbrella Liability Policy with CrisisResponse
                     Commercial General Liability Limitation Endorsement

             This policy is amended as follow:

             Section V. EXCLUSIONS is amended to include the following additional
             exclusion:


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             Commercial General Liability

             This insurance does not apply to Commercial General Liability.

             However, if insurance for Commercial General Liability is provided by a
             policy listed in Scheduled Underlying Insurance:

                1. This exclusion shall not apply; and

                2. Coverage under this policy will follow the terms, definitions,
                conditions and exclusions of Scheduled Underlying Insurance, subject
                to the Policy Period, Limits of Insurance, premium and all other terms,
                definitions, conditions and exclusions of this policy. Provided, however,
                that coverage provided by this policy will be no broader than the
                coverage provided by Scheduled Underlying Insurance.




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